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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                         Magistrate Judge Maritza Dominguez Braswell

  Civil Action No. 21–cv–02637–RM–MDB


  JANE DOES 1 through 11, and
  JOHN DOES 1 through 7,

         Plaintiffs,

  v.

  BOARD OF REGENTS OF THE UNIVERSITY OF COLORADO,
  TODD SALIMAN, President of the University of Colorado, in his official capacity,
  DONALD ELLIMAN, Chancellor of the University of Colorado Anschutz Campus, in his
  official & personal capacity,
  SHANTA ZIMMER, Senior Associate Dean of Medical Education, University of Colorado
  School of Medicine, in her official & personal capacity,
  ERIC MEDIAVILLA, Associate Dean for Student Affairs, University of Colorado School of
  Dental Medicine, in his official & personal capacity,
  ANN-MICHAEL HOLLAND, Master of Science Program Director, Department of
  Anesthesiology, in her official & personal capacity, and
  JOHN & JANE DOES 1, 3-9, members of the Vaccine Verify team, in their official & personal
  capacities,

         Defendants.


                                      ORDER OF RECUSAL


         Section 455(a) of Title 28 of the United States Code states that “[a]ny justice, judge, or

  magistrate judge of the United States shall disqualify himself in any proceeding in which his

  impartiality might reasonably be questioned.” A federal judge must recuse when there is an

  appearance of bias, regardless of whether there is actual bias. Nichols v. Alley, 71 F.3d 347, 350

  (10th Cir. 1995). “The test is whether a reasonable person, knowing all the relevant facts, would
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  harbor doubts about the judge’s impartiality.” Hinman v. Rogers, 831 F.2d 937, 939 (10th Cir.

  1987).

            Upon review of the file of this case, I conclude that I must recuse myself from further

  service in this matter, due to my previous relationship with counsel of record for Defendants.

            Accordingly, it is

            ORDERED that I RECUSE myself from this case, pursuant to 28 U.S.C. § 455(a). It is

  further

            ORDERED that the Clerk of Court shall cause this case to be reassigned to another

  Magistrate Judge.

            Dated this 3rd day of August, 2022.




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